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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

   M. PAPADOPOULOS DENTAL                    CASE NO:
   CORPORATION                               2:19−cv−01133−PSG−GJS
                 Plaintiff(s),
         v.                                  ORDER SETTING SCHEDULING
                                             CONFERENCE
   ICP, INC.




                Defendant(s).




       This matter is set for a scheduling conference on November 4, 2019 at 02:00 PM.

    The Conference will be held pursuant to F.R.Civ. P. 16(b). The parties are reminded of

    their obligations to disclose information and confer on a discovery plan not later than

    21 days prior to the scheduling conference, and to file a joint statement with the Court

    not later than 14 days after they confer, as required by F.R. Civ.P. 26 and the Local

    Rules of this Court. In their F.R.Civ. P. 26(f) Report, the parties shall indicate whether

    they have agreed to participate in the Court's ADR Program, to private mediation or,

    upon a showing of good cause, to a Magistrate Judge for a settlement conference.
    Failure to comply may lead to the imposition of sanctions.

        IT IS SO ORDERED.


   DATED: April 11, 2019
                                         Philip S. Gutierrez
                                         United States District Judge
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